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Attorney for Defendant

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA
                                 )
 EMMA NASH, as Personal          )
 Representative of the ESTATE OF )
 ELIZABETH NASH,                 ) Case No. 3:16-CV-00290-SLG
                                 )
                   Plaintiff,    )
                                 ) MOTION TO SUBSTITUTE
      vs.                        ) THE UNITED STATES AS A
                                 ) NAMED DEFENDANT
 RYAN R. GERRY, MD,              )
 SHANNON PATRICK GARITTY, )
 MD, KATHRYN A. LEWIS, RN,       )
 KIM DERR-OBERLIES, RN, and      )
 JENNIFER M. VADEN, CNA,         )
                                 )
                   Defendants.   )

      Defendant, United States of America, through counsel, and pursuant to

pursuant to 28 U.S.C. § 2679(d)(2), requests that it be substituted as the

named defendant in place of defendants (1) Ryan R. Gerry, MD, (2) Kathryn

A. Lewis, RN, (3) Kim Derr-Oberlies, RN, and (4) Jennifer M. Vaden, CNA.


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      In support, the United States states as follows:

      1.      This is a medical malpractice lawsuit concerning medical care

provided at the Alaska Native Medical Center. See Compl. [Dkt. 1-1] ¶¶ 8-

22.

      2.      Plaintiff originally filed this lawsuit against five medical

providers in the Superior Court for the State of Alaska. Compl. [Dkt. 1-1].

The United States removed this lawsuit, pursuant to 28 U.S.C. § 2679(d)(2),

after certifying that four of the named defendants — (1) Ryan R. Gerry, MD,

(2) Kathryn A. Lewis, RN, (3) Kim Derr-Oberlies, RN, and (4) Jennifer M.

Vaden, CNA — are deemed federal employees who were acting within the

scope of their employment for purposes of the Federal Tort Claims Act. See

Notice of Removal [Dkt. 1] ¶¶ 3-7; Certification [Dkt. 3].

      3.      28 U.S.C. § 2679(b)(1) provides that the Federal Tort Claims Act

remedy against the United States is the exclusive remedy for any claims

arising from the tortious conduct of a federal employee who was acting within

the scope of his employment. Any other civil action or proceeding against

the federal employee involving or arising out of the same subject matter is

precluded.

      4.      28 U.S.C. § 2679(d)(2) provides that the United States “shall be

substituted as the party defendant” in place of any individuals who are
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deemed federal employees acting with the scope of their employment.

Accordingly, the United States should be substituted as a named defendant

in the place of (1) Ryan R. Gerry, MD, (2) Kathryn A. Lewis, RN, (3) Kim

Derr-Oberlies, RN, and (4) Jennifer M. Vaden, CNA.

       5.      This case should be re-styled as: Emma Nash, as Personal

Representative of the Estate of Elizabeth Nash, Plaintiff v. United States of

America and Shannon Patrick Garitty, MD, Defendants.

       RESPECTFULLY SUBMITTED this 27th day of December, 2016, in

Anchorage, Alaska.

                                                       KAREN L. LOEFFLER
                                                       United States Attorney

                                                       s/John A. Fonstad
                                                       Assistant U.S. Attorney
                                                       Attorney for Defendant
CERTIFICATE OF SERVICE
I hereby certify that on December 27, 2016,
a copy of the foregoing was served via ECF on:

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s/John A. Fonstad
Assistant United States Attorney




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